   Case 17-13153                Doc 46         Filed 06/01/18 Entered 06/01/18 18:38:42                                   Desc Main
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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                               District ofDistrict
                                            __________     Massachusetts
                                                                   Of __________

In re ________________________________,
      Rodeline Nelfort                                                                            Case No. ________________
                                                                                                           17-13153




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
U.S. Bank Trust National Association as Trustee                             Specialized Loan Servicing LLC, as servicing agent for
                                                                            ____________________________________
______________________________________
of Bungalow Series III Trust
______________________________________                                      Cascade Funding Mortgage Trust 2017-1
                                                                            ____________________________________
______________________________________                                      ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known): 3-1
should be sent:                                                             Amount of Claim: 204150.76
C/O SN Servicing Corp                                                       Date Claim Filed: 11/7/17
323 5th Street
Eureka, CA 95501

Phone: ______________________________
       800-603-0836                                                         Phone: 800 315-4757
Last Four Digits of Acct #: ______________
                            1949                                            Last Four Digits of Acct. #: __________
                                                                                                         6337


Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
   Christopher Bideaux                                                      Date:____________________________
                                                                                 5/30/18
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
